Case 1:19-cv-OOOO4-||\/|K Document 1-1 Filed 01/03/19 Page 1 of 11 Page|D #: 9

EXHIBIT 1

Case 1:19-cv-OOOO4-||\/|K Document 1-1 Filed 01/03/19 Page 2 of 11 Page|D #: 10
SEavE

lN THE CIRCUIT COURT OF HARRISON COUNTY, WEST VIRGINIA

JOSEPH w. PARKER,

 

Plaintiff,
v, crer AcTroN= I§- C »301» 2
JUDGE= @m n
SAFETY MANAGEMENT SYSTEMS, LLC, and
ANTERO RESOURCES CORPORATION, §__.‘ q d
- i.'{\`i\ §§ t
|; S`.‘ m :\ ;.
Defendants. ¢§'Ez §§ fig 5
' n *r' v'
=.=:~;: . '
SUMMONS m :;, _, ga r_' 1
;;~rl -D :§)::
To: Antero Resources Corporation 531 c t;`» "-
c/o CT Corporation System §§ '_'_ 5§”'
J_.‘: 0' 'U".

1627 Quarrier Street
Charleston, WV 2531 1-2124

iN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and
required to serve upon Scott l'l. Kaminski, Plaintift’s Attorney, whose address is P.O. BOX 3548,
CHARLESTON, WV 25335-3 548, an Answer, including any related counterclaim you may have,
to the Complaint filed against you in the above-styled civil action, a true copy of which is herewith
delivered to you, You are requested to serve your answer within thirty (30) days of service of this
Summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will'
be taken against you for the relief demanded in the Complaint and you will thereafter be barred

from asserting in another action any claim you may have which must be asserted by counterclaim

in the above-styled civil action.

Dated: [;.ZF§[ [;¢)_LZ '
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\'.\.\'il ".\.\,'| ' ‘ -U"j"¢ ...
Clerk of Court

    

 

 

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IN THE CIRC

JOSEPH W. PAIU(EH,

Plaintiff,

Case 1:19-cv-OOOO4-||\/|K Document 1-1 Filed 01/03/19 Page 3 of 11 Page|D #: 11

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ulT§corJRT oF HARRISON coUNTY, wEsT VmGerA

CIVIL ACTION: fE-L: _._]Q[... g
JUDGE= 533er

SAFETY MANAGEMENT SYSTEMS, LLC, and
ANTERO RESOURCES CORPORATION,

Dcfendants.

COMPLAINT

COMES NOW, Plnintiff, by counsel, and for his Complaint states the following:

l .
County, West Virginia.

2. At all rel

I;ARTIES AND lURISDlQTION

At all relevant times, Plaintiff was a citizen of West Virginia resided in Doddridge

event times, Defendant Safety Management Systems, LLC (sometimes

referred to as “SMS") was a West Virginia for~profit corporation licensed to do business in West

Virginia, including I-Iarr

3. At all rele
to as "Antero”) was a D
and having an office loc

4. Venue ap

son County.

vant times, Defendant Antero Resourees Corporation (sometimes referred
ela\n:are for-profit corporation licensed to do business in West Virginia,
nion in l-I{arrison County.

V.__E_M

propriate in this Court because the Defendants have sufficient ties to

Harrison County, West Virginia.

 

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FACTS

 

5. Plaintiff Jegan working for a company called FSI Fire Safety Investigation after
transferring from a company called Environmental Site Safety which also performed services

' under contract to Defenc ant Antero.

 

6. During his employment Plaintiff performed his job duties in a satisfactory manner.

7. Plaintiff i's an African-American.

8. Plaintiff began working for FSl on the Antero safety project on or about December
25, 2012.

9. In Marclr of 3018, FSI was downgraded by Antero whose new preferred safety
consultant vendor became SMS.

lO. Plaintiff had worked for FSI for three months after March of 2018 in the Antero
Water Operations Department after being transferred from the Antero Clompletions Department.

11. Antero began transferring safety consultant positions in the Water Operatlons
Department to Defend ant SMS.

12. In May o 2018, Plaintiff was required to interview with Antero management for
the same position he held in the Water Operations Department with the understanding that he
would transition to SMS employment

13. Four Caucasian FSI employees were not required to interview with Defendant
Antero for their positions in the Water Operations Department before transitioning to SMS
employment

14. Besides *laintiff Parker, there was only one other African-American safety

consultant in the Water (Jperations Department and he was also required to interview for his same

 

' or similar position at De

in that same position.
l$.

Defendant Antero safety

16. The two

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l
l l
fendant Antero and was denied employment after working for one month

All four Caucasiiin fenner FSI employees were hired by Defendant SMS for the

project without being interviewed by Defendant Antero.

Afrlcan-American former ESI employees were not hired by Defendant

 

SMS for the Defendant Antero project.

17.
with Defendant SMS to
18. Spei:ifica
of Defendant Antero tha
19.
as an Af`rican-Arnerican
not to hire him.
20. Plaintiff`
Antero's decision to bar
21. Plaintiff 1
the preceding Paragrapli
22. At all fela
in West Virginia.
23. Defendan

24.

Plaintiff had the necessary experience and was qualified for the position available

work on its contract with Defendant Antero.
ly, ljlaintiff Pa.rker had been told by Field Safety Supervisor J ames Sarver

t “[Y]ou’ll never work again in the Antero universe.”

Plaintiff` Pnrker was not offered employment by Defendant SMS based on his race

which was a substantial motivating factor in Defendant SMS‘ decision
i`

Parker's race was also a substantial motivating factor in Defendant

its cpntractor, Defendant SMS, from hiring Plaintiff'Parker.

C[')UNT l-_WVHRA (RACE DISCRIM]NATION]

1 . . . . .
ealleges and incorporates herein each and every allegation contained in
s.

wantl timcs, Defendant SMS has employed twelve (12) or more employees

i sMs is an empioyei within the meaning ofih_e wvHRA.
1

Plaintiff Parker is an individual within the meaning of the WVHRA.

 

25. At all reli
essential functions of hi.c
26. At all role
a member of a protected
27. Defendan

to hire Plaintiff` Parker b

Case 1:19-cv-OOOO4-||\/|K Document 1-1 Filed 01/03/19 Page 6 of 11 Page|D #: 14

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:vani times, Plaintiff Parker was fully able and competent to perform the
job.l

ivant` times, Plaintiff Parker was an African-Arnerican, and therefore, was
class. _

t Slv;IS engaged in an adverse employment action, including deciding not

ased on his race.

 

28. But for P-laintiff` l’arker's protected status, Defendant SMS would not have made
the adverse employment -
29. Defendan
discriminatory practice i
30. Defendan
and were undertaken wit
31. As a dire
Plaintiff`Parker has suffe
and future lost wages an
:",2. As a dire
Parker has suffered and
pain and suffering,‘emo
iury_

33. As a dir

action.

t SMS’s decision not to hire Plaintiff Parker constituted an unlawful
rider the WVHRA.

t SMS’s actions and/or inactions were willful, wanton, and/or intentional
h reckless disregard and indifference to the rights of Plaintiff Parker.

ct aiid proximate result of Defendant SMS’s actions and/or inactions,
red aind will continue to suffer economic damages, including past, present,
:l benefits, in an amount to be determined by a jury.

ct and proximate result of Defendant SMS’s actions/inactions, Plaintiff
will i:ontinue to suffer emotional damages, including humiliation, mental
,ional distress, and embarrassment, in an amount to be determined by a

eat iind proximate result of Defendant SMS’s 'willful, wanton, and

l

intentional actions andr'or'ina`ctioiis, Plaintiff Parker is entitled to punitive damages in an amount
|

to be determined by aju

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'y, o

 

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34.

As a result of|Def`endant SMS‘s unlawful discriminatory practices, Plaintiff Parker

is entitled to the costs ofl iitigation, including attorney fees and costs.

35.
Plaintiff Parker has suff

or equitable relief that t

jury.

36.

the preceding Paragraph .

37. Plaintiff I
employment relationship

qualified by reason of edi

ul

As a direct and proximate result of Defendant SMS’s actions and/or inactions,

ared and will continue to suffer damages and is entitled to all other legal
l

his Court may deem appropriate, in an amount to be determined by the
l

COUN'[' II - TORTIOUS INTEFERENCE

Plaintiff realleges and incorporates herein each and every allegation contained in

|
J’arlcer sought to and had a reasonable expectation of entering into an

with Defendant SMS for a position for which Plaintiff Parker was

leatipn, skill, experience and previously having done the same job for

l
another contractor for Defendant Antero.

38. Defendan
expectation of employme
39. Defendan
to offer employment to P
comment of James Sarve
40. Based up
course a_.nd scope of his er
of Defendant SMS not to
4i.

interference, Plaintiff Par

t An_|tero intentionally interfered with Plaintiff Parker’s reasonable

m with Defendant SMS.

t Antero's intentional interference caused Defendant SMS to decide not

aintif`f` Parker for a position that he was qualified for as evidenced by the
1

' thatl “[Y]ou'li (Parker) never work again in the Antero universe.”

an Sarver’s comment as an employee of Defendant Antero made in the

nployment, it is obvious that Defendant Antero influenced the decision

hire Plaintiff Parker for the position for which he was qualified

As a direct and proximate result of Defendant Antero's unlawful and tortious

ker s"uf`fer.'ed damages
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42. The conduct described herein of Sarver attributable to Defendant Antero was

willful, wanton, and/or intentional and were undertaken with reckless disregard and indifference

to the rights of Plaintiff Parker.

43. As a direct and proximate result of Defendant Antero's actions and/or inactions,

PlaintiffParker has suffered and will continue to suffer economic damages, including past, present,

and future lost wages rin:l benefits, in an amount to be determined by ajury.

44. As a dire

Parker has suffered and

:t and proximate result of Defendant Antero's actions/inactions, Plaintiff

 

will continue to suffer emotional damages, including humiliation, mental

pain and suffering, emotional distress, and embarrassment, in an amount to be determined by a

jury.
45. As a dir

:ct and proximate result of Defendant Antero’s willful, wanton, and

l l l | l ‘ l ' l l l
intentional actions andfcr inactions, Plaintiff Parker is entitled to punitive damages in an amount

to be determined by a ju

ry'i

 

46. As a direct and proximate result of Defendant Antero's actions and/or inactions,

Plaintiff Parker has suffered _'and will continue to suffer damages and is entitled to all other legal

or equitable relief that t
jury.
WHEREFORE,]

a. Tl

in

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liis (;`,oui't. may deem appropriate, in an amount to be determined by the

’lairitiff l`oseph W. Parker prays for the following relief:

iat the Court award Plaintiff relief for ali compensatory damages set forth

in this Complaint, including past, present, and future lost wages,

imiii_atien, mental pain and suffering, emotional distress, and

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nbarrassrrient;

 

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b. That the Court award Plaintiff ali damages available to Plaintiff under the

` West I;./lrginia Human Rights Act, 5-1 l-l, et seq.

c. That the Court award Plaintiff punitive damages;

d. 'l`hat the Court award Plaintiff the costs of litigation, including attorney fees
and costs;

e. That the Court award pre-judgement and post-judgment interest; and

f. 'I` rat the Court award all other legal relief that this Court deems appropriate
or. that may be available under applicable law.
Plaintiff demands a trial by jury on ali issues so triable.

l z JOSEPH W. PARKER,

f B\’ COUNSEL,

l
soon Hi Kaminsi<i (sta #6332;)
Kaminski Law, PLLC ‘
P.O. Box 3$'48 \ ' z
Cliarleston, WV 25335-3548
(304) 344-0444 1
(304) 344-4411 fax i

skaminski@kamiam.i;_qm

 

 

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`I. CASE S'I`YLE:

Plaintifl'(s)
Joseph W. Parker

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unnamed coUNrY, wEsr vInGiNrA

(Civii Cnses Othei' than Doqiestic Relations)
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.Judge= design

 

 

vs.
Defendant(s)
Snfety Mi:iniigciiii:nt Systems_. l'_.T..
Nuuie

1627 Quan'icr Street
Sircet Adclness

Ciiiil'lesion, WV 25311-2124
Ciry` Sliite. Zip Code i

I`I. TYPE OF CASE:
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[:l Foreign language interpreter-specify laiigiiage:
[:]Yes m No m gum-z

 

 

 

 

Attomey Name: Scott H. Kainin|sid. WV BAR: 6338

Represeiiting:

 

Fimi: Kamlnsk.i Law. PLLC

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Address: PO Box 3548. Charlesi

oii, WV 25335

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Tcleplioiie'. (304) 344-0444

 

I___I Srd-Pruty Plaintiff E 3rd-Paity Defendant

 

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Case 1:19-cv-OOOO4-||\/|K Document 1-1 Filed 01/03/19 Page 11 of 11 Page|D #: 19

Plaintii!`: .loseph,W.Pr\rkel‘

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us_.

Defendant: Snfe.ty Manngemeul Systoms, LLC, ,¢r al

 

 

Antero Resomccs Corp., c/o CT

'E?Teudrmfr§`l~lmne
1627 Quan'ier Strect

CIVIL CASE INFORMATION S'I`ATEMENT
DEFENDAN'I`(S) CONTINUATION PAGE

Corp. Sysrem

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